Case 18-14729   Doc 122   Filed 01/19/21 Entered 01/19/21 15:04:56   Desc Main
                           Document     Page 1 of 6
Case 18-14729   Doc 122   Filed 01/19/21 Entered 01/19/21 15:04:56   Desc Main
                           Document     Page 2 of 6
Case 18-14729   Doc 122   Filed 01/19/21 Entered 01/19/21 15:04:56   Desc Main
                           Document     Page 3 of 6
Case 18-14729   Doc 122   Filed 01/19/21 Entered 01/19/21 15:04:56   Desc Main
                           Document     Page 4 of 6
Case 18-14729   Doc 122   Filed 01/19/21 Entered 01/19/21 15:04:56   Desc Main
                           Document     Page 5 of 6
Case 18-14729   Doc 122   Filed 01/19/21 Entered 01/19/21 15:04:56   Desc Main
                           Document     Page 6 of 6
